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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION

  STATE OF MISSOURI, et al.,

             Intervenor Plaintiffs.

  v.
                                                             2:22-CV-223-Z
  U.S. FOOD AND DRUG
  ADMINISTRATION, et al.,

             Defendants,

  and

  DANCO LABORATORIES, LLC,

             Intervenor Defendant.


                                              ORDER

        Before the Court is Defendants’ Unopposed Motion for Extension of Time to File Reply

 Brief (ECF No. 238), filed March 3, 2025, and Intervenor Defendant’s Unopposed Motion for

 Extension of Time to File Reply in Support of Danco’s Motion to Dismiss (“Motions”) (ECF

 No. 240), also filed March 3, 2025. Defendants seek to extend their March 6, 2025, deadline to

 file their reply in support of their motion to dismiss by 60 days. ECF No. 238 at 1. They argue the

 extension is warranted because they have “been occupied by several other matters involving

 emergency deadlines” and it “will ensure that the new Administration . . . is able to familiarize

 themselves with the issues in this case.” Id. at 2. Additionally, the extension would align “with

 extensions that the new Administration is seeking in other mifepristone-related litigation.” Id.
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         Intervenor Plaintiffs do not oppose the Motion. Id. Intervenor Defendant and putative

 Intervenor-Defendant GenBioPro, Inc. do not oppose if their reply deadlines are extended the

 same. Id. at 2, 4.

         Intervenor Defendant also filed an extension motion, consistent with its representation to

 Defendants, to extend its reply-brief deadline the same as Defendants’ potential extension. ECF

 No. 240 at 2. It independently argues an extension is warranted because of “the press of other

 business.” Id. Intervenor Defendant’s motion is unopposed because Defendants and Intervenor

 Plaintiffs “consent to aligning Danco’s reply deadline with an extension granted to Federal

 Defendants.” Id.

         This Court has “generously granted extensions to all parties” in this case. ECF No. 168.

 The Motions are GRANTED. Defendants, Intervenor-Defendant Danco, and putative

 Intervenor-Defendant GenBioPro, Inc. are ORDERED to file their reply brief on or before May

 5, 2025.

         SO ORDERED.

         March 4, 2025.

                                                      ________________________________
                                                      MATTHEW J. KACSMARYK
                                                      UNITED STATES DISTRICT JUDGE




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